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   12
                            UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                  PLAINTIFFS’ NOTICE OF
   17   THIS DOCUMENT RELATES TO                  UNOPPOSED MOTION IN LIMINE
        ALL ACTIONS                               NO. 1 TO EXCLUDE EVIDENCE
   18                                             AND ARGUMENT REGARDING
                                                  TREBLE DAMAGES AND
   19                                             ATTORNEYS’ FEES AND COSTS
   20                                             JUDGE: Hon. Philip S. Gutierrez
                                                  DATE: February 7, 2024
   21                                             TIME: 2:30 p.m.
                                                  COURTROOM:
   22                                              First Street Courthouse
                                                   350 West 1st Street
   23                                              Courtroom 6A
                                                   Los Angeles, CA 90012
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2         PLEASE TAKE NOTE THAT on February 7, 2024 at 2:30 p.m., before the
    3   Honorable Philip S. Gutierrez, Chief United States District Judge, Courtroom 6A,
    4   United States Courthouse, 350 West 1st Street, Los Angeles, CA 90012, Plaintiffs
    5   will, and hereby do, move the Court for an order granting Plaintiffs’ Unopposed
    6   Motion In Limine No. 1 to preclude the NFL Defendants from presenting any
    7   evidence or argument to the jury concerning Plaintiffs’ entitlement to treble damages
    8   or attorneys’ fees and costs. This motion is based on this notice and supporting
    9   memorandum of points and authorities, and the other records, papers, and orders in
   10   this action, as well as such additional evidence and arguments as may be presented
   11   by the parties before or at the hearing.
   12         This motion is made following the conference of counsel pursuant to L.R. 7-3
   13   which took place on December 29, 2023. The NFL Defendants do not oppose this
   14   motion.
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   16   Dated: January 5, 2024                     Respectfully submitted,
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   18                                              By: /s/ Marc M. Seltzer

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